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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 21-cr-0067 (ABJ)
                                            :
MARK SIMON,                                 :
                                            :
                      Defendant.            :

                         GOVERNMENT’S NOTICE OF EXHBIT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully gives notice that undersigned counsel for the government enters an

exhibit for use at the Sentencing Hearing, which is to be held on Tuesday, December 7, 2021. The

video is taken by Mark Simon using his girlfriend’s cellphone while inside the Capitol on January

6, 2021. In the video you can see Defendant Simon moving towards the interior of the Capitol.

Once Simon was in the threshold of the U.S. Capitol building, he turned the camera on himself

and said, “In the Capitol baby, yeah!” Shortly thereafter, Defendant Simon turned the camera on

himself again and said, “2021 Donald Trump!” The video is 1 minute and 50 seconds long.



Date: December 3, 2021                              Respectfully submitted,

                                                    Matthew M. Graves
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                                By: /s/ Brenda J. Johnson
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